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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION -- LEXINGTON

   UNITED STATES OF AMERICA,                        CRIMINAL ACTION NO. 5:12-79-KKC
         Plaintiff,

                                                              MEMORANDUM
   V.
                                                            OPINION AND ORDER

   DAVID ATREYEL CAMPBELL, aka
   David Caniness Campbell,
         Defendant.


        This matter is before the Court on remand from the Sixth Circuit following this Court’s

denial of Defendant David Atreyel Campbell’s request for a sentence reduction pursuant to

Amendment 782 to the United States Sentencing Guidelines. (DE 1085, 1159.) The amendment

reduces by two the offense levels assigned in the Drug Quantity Table, U.S.S.G. § 2D1.1,

resulting in lower guideline ranges for most drug trafficking offenses. The Sixth Circuit has

directed this Court to consider the appropriateness of a sentence reduction under the 18 U.S.C. §

3553(a) factors.

        In 2012, Defendant pleaded guilty to conspiring to distribute cocaine base and to

distributing cocaine. (DE 281). On May 31, 2013, this Court sentenced Campbell to a term of 66

months imprisonment based on the government’s motion for a downward departure for

substantial assistance under U.S.S.G. §5K1.1. (DE 627, 644). This sentence represented an

eighteen (18) month departure from the lowest end of the applicable guideline range of 84–105

months. This Court denied Campbell’s request for a sentence reduction from the amended

guideline range of 70–87 months because the original sentence was below Campbell’s amended

guideline range. (DE 1114.)

        A sentence reduction to a term below the minimum guideline range is inappropriate

unless, as here, the “defendant initially receives a sentence of imprisonment lower than . . . [the]

applicable guideline range pursuant to a government substantial-assistance motion under §
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5K1.1[.]” United States v. Jackson, 751 F.3d 707, 711 n.1 (6th Cir.), cert denied, 135 S. Ct. 273

(2014). In such circumstances, a “reduction comparably less than the amended guideline range . .

. may be appropriate.” U.S.S.G. § 1B1.10(b)(2)(B). However, subject to certain inapplicable

exceptions, that reduction cannot result in a sentence below the statutorily-required mandatory

minimum sentence—here, 60 months. Thus, the Defendant is eligible for not more than a six (6)

month sentence reduction, subject to this Court’s consideration of the 18 U.S.C. § 3553(a) factors.

       Having considered the nature and circumstances of Defendant’s offense and his history

and characteristics, this Court is persuaded that Defendant’s original 66 month sentence is

necessary to adequately promote respect for the law, provide just punishment, afford adequate

deterrence, and protect the public from future crimes by the Defendant. Campbell’s current

incarceration stems from criminal conduct he engaged in less than 30 days after his release from

this Court’s previously imposed 24 month sentence for Defendant’s felonious possession of a

firearm. Defendant’s felon in possession of a firearm conviction carried a 41–51 month guideline

range. The lack of deterrence resulting from this earlier reduced sentence persuades this Court

that an additional reduction of Defendant’s current sentence would be inconsistent with the §

3553(a) factors.

       Accordingly, IT IS ORDERED that Defendant’s motion for sentence reduction (DE 1063)

is DENIED.

       Dated March 23, 2016.




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